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              IN THE UNITED STATES DISTRICT COURT
          FOR THE DISTRICT OF THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA                 )
                                          )         Criminal No. 22-CR-244
 v.                                       )         Hon. Trevor N. McFadden
                                          )
 HATCHET M. SPEED,                        )
                                          )
      Defendant.                          )
 _________________________________________)


                                      ORDER

      Upon consideration of the foregoing motion, it is this ____ day of

________________, 2023 hereby,

      ORDERED that the Defendant’s Motion to Continue Trial Date is

GRANTED; and it is further,

      ORDERED that the new trial date will be ________________________.




                                                    SO ORDERED.


                                                    ____________________________
                                                                Judge
